UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE
UNITED STATES OF AMERICA )
) No. 2:19-CR-196
V. )
) JUDGE GREER
VICTOR JAMES RAY )
PLEA AGREEMENT

The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and the defendant, Victor James Ray, and the defendant’s attorney, Jerry Fabus, Jr., have
agreed upon the following:

1. The defendant will plead guilty to the following count(s) in the indictment:

a) Count One, that is, conspiracy to distribute fifty grams or more of
methamphetamine, its salts, its isomers, and salts of its isomers, in violation of 21 U.S.C. §§ 846,
841(a)(1) and 841(b)(1)(A).

The punishment for this offense is as follows: A minimum mandatory 10 years up to life
imprisonment, a fine of up to $10,000,000.00, a minimum of five years up to life on supervised
release, and a $100.00 mandatory assessment fee.

Ze In consideration of the defendant’s guilty plea(s), the United States agrees to move
the Court at the time of sentencing to dismiss the remaining count(s) against the defendant in this
indictment.

3. The defendant has read the indictment, discussed the charges and possible defenses
with defense counsel, and understands the crime(s) charged.

4, In support of the defendant’s guilty plea, the defendant agrees and stipulates to the

following facts, which satisfy the offense elements. These are the facts submitted for purposes of

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 1of14 PagelD #: 267
the defendant’s guilty plea. They do not necessarily constitute all of the facts in the case. Other
facts may be relevant to sentencing. Both the defendant and the United States retain the right to
present additional facts to the Court to ensure a fair and appropriate sentence in this case.

The defendant was a member of a drug trafficking organization led by co-defendant Joshua
Davis during the time frame set forth in the indictment.

On February 25, 2018, a Kingsport Police Officer was patrolling the area of 735 Howard
Street, Kingsport, Tennessee, due to reports of drug activity. The officer observed Defendant
outside working on a car and knew that Defendant had an active warrant for his arrest through the
Hawkins County, TN, Sheriffs Office. The officer searched Defendant’s person incident to arrest
and located approximately 1.5 grams of methamphetamine in a baggie in Defendant’s right front
pocket. Defendant was transported to the Kingsport Police Department for booking and processing.

On September 3, 2018, the Kingsport Vice and Narcotics Unit conducted a controlled
purchase of methamphetamine from co-defendant Brittany Sage. The Vice and Narcotics unit
utilized a Confidential Informant (CI) to arrange and make the purchase. Sage agreed to sell the Cl
a gram of methamphetamine for $70. Sage requested the CI come to 735 Howard Street, the
residence of Defendant to make the purchase. Sage stated that the CI needed to park away from the
residence and walk to the house. The CI arrived at the residence and met with Sage and Defendant.
The CI told law enforcement that Defendant was upset that the CI walked up to the house and stated
that it looked suspicious and would attract law enforcement attention. Defendant told the CI to
drive to the house next time. The CI successfully purchased the methamphetamine from Sage and
left the residence.

On September 7, 2018, Defendant sent a text message to co-defendant Larry Hawkins, to let

Hawkins know that he could provide methamphetamine to him.

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 2o0f14 PagelD #: 268
On September 4, 2018, the Kingsport Vice and Narcotics Unit conducted another controlled
purchase of methamphetamine from Brittany Sage, utilizing a CI. Sage agreed to sell the Cl a gram
of methamphetamine for $70. Sage again requested the CI come to 735 Howard Street to make the
buy. The CI arrived and met with Sage. Sage told the CI that Defendant was not home because he
was out trying to help co-defendant Connie Terry because she had been robbed of
methamphetamine.

Through the seizure of cellular telephones and text message search warrants, officers
obtained and reviewed texts between Defendant and co-defendant Harvey Napier, in which Napier
seeks to obtain methamphetamine from Defendant in September 2018. Officers also retrieved text
messages between Defendant and co-defendant Connie Terry, in September 2018, in which
Defendant agreed to purchase methamphetamine from Terry and told her he had $5,000.00 for the
purchase. After that, Defendant and Napier communicated by text message and Defendant agreed to
provide Napier with a half-ounce of methamphetamine. Napier agreed to deliver an ounce of
methamphetamine for Defendant and retrieve money from Sage for Defendant. In a text
communication between Defendant and co-defendant Kirstin Mulkey, Mulkey informed Defendant
she was selling methamphetamine for Defendant.

On October 1, 2018, Napier texted Defendant, indicating that he needed an ounce of
methamphetamine and that he had provided Sage with two and a half ounces of methamphetamine
for defendant.

On October 13, 2018, co-defendant Dustin Barnette texted Defendant and indicated that he
had seen Mulkey the previous night to “re-up” referring to obtaining more methamphetamine.

On October 14, 2018, co-defendant Bobbie Sue Widener texted Defendant, seeking

methamphetamine.

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 3o0f14 PagelD #: 269
On October 16, 2018, agents obtained a search warrant for content of three cellular phones
that were in the possession of co-defendant Tyler Denison. October 17, 2018 text messages with
Defendant were on the phone, in which Denison discussed methamphetamine he had obtained from
Defendant.

Between the dates of October 18, 2018 and October 31, 2018, co-defendant Brittany Sage
contacted Defendant from the Sullivan County Jail, where she was incarcerated at the time.
Defendant discussed the loss of methamphetamine with Sage.

On January 8, 2019, a search warrant was obtained in Buncombe County, North Carolina for
the content of three cellular phones that were found in the possession of Defendant during his arrest
in Asheville, North Carolina on December 22, 2018. On January 9, 2019, a search warrant was
obtained in Sullivan County, Tennessee for the content of Defendant’s cellular phone, found in an
abandoned F-350 truck. The phones reflect multiple texts between Defendant and co-defendant
Joshua Davis. In the messages, Defendant discusses purchasing methamphetamine from Davis. In
one series of messages, Davis discusses taking a trip to pick up methamphetamine. Davis indicates
that he planned to purchase three pounds of methamphetamine for $15,000. Davis discusses
Defendant riding with him to pick up the methamphetamine from his source.

In November 1, 2018 text messages, co-defendant David Garber sent a text message to
Defendant asking if he could get an ounce of methamphetamine.

On November 2, 2018, Defendant sent a text to Joshua Davis, asking if he acquired more
methamphetamine. Davis responded and explained he had not because the mother of the source in
Georgia passed away and the source was away to attend the funeral. Davis indicated that he could
call another source of methamphetamine in Georgia that David Garber use to go to, and that the

source was located five miles on the other side of Interstate 85 from where they had been going.

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 4of14 PagelD #: 270
Davis asked if Connie Terry had methamphetamine and Defendant told him that her source had
been arrested. Davis then contacted Defendant and told him that he was going to get
methamphetamine from another person at a rate of $6,500.00 a pound. Defendant told Davis that he
wanted two pounds of meth and wanted to know when Davis would return with the meth. Davis
texted that he had the meth and he was returning with it. Davis told Defendant that the supplier sold
him the meth for $6,250 a pound because they bought four (4) pounds. Davis then told Defendant
to meet him at a location off Eastern Star Road, and that he was not coming in to Sullivan County
anymore.

On November 3, 2018, Harvey Napier texted Defendant, inquiring about whether they were
going to meet up with Davis. Napier sent another text to Defendant, saying that customers were
constantly calling his number looking for methamphetamine. Defendant indicated that Davis was
supposed to be on his way to them.

On November 4, 2018, Connie Terry texted Defendant to purchase methamphetamine.

On November 7 and 8, 2018, Bobbie Sue Widener arranged to purchase methamphetamine
from Defendant by text message.

On November 9, 2018, David Garber contacted Defendant, inquiring about how much
methamphetamine he could purchase for $400.

On November 10, 2018, Bobbie Sue Widener texted Defendant, seeking to obtain two of her
“usual,” referring to methamphetamine.

On November 11, 2018, Defendant sent a text message to Brittany Sage asking her to notify
him when she sold the methamphetamine he provided her. Shortly after, Defendant sent a text
message to Bobbie Sue Widener, asking if she needed an ounce of methamphetamine. Widener sent

a text back to Defendant and asked how much methamphetamine he would sell for $2,000.

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 5of14 PagelD#: 271
On November 16, 2018, Defendant indicated that law enforcement had about gotten him,
and that he had to flush everything, referring to an incident where the Kingsport Police Department
visited Defendant’s room at the Americourt Motel.

On November 17, 2018, Brittany Sage texted Defendant and told him that they have deals
lined up and requested to know when he would provide the methamphetamine. Sage also indicated
that she was upset with the quality of the methamphetamine, stating “Are u cutting ur stuff now???”

On November 21, 2018, agents interviewed co-defendant Kirstin Mulkey at the Kingsport
Police Department. Mulkey stated that she was dating Defendant, and got her methamphetamine
from him. Mulkey stated that Defendant was also dating Brittany Sage and that Sage also got her
methamphetamine from Defendant. Mulkey said the smallest amount of methamphetamine
Defendant would purchase was a quarter pound. Mulkey stated that Defendant will purchase a
kilogram of methamphetamine for $11,000 to $13,500, and sell it in ounce quantities to Kingsport
area dealers. Mulkey stated that at the time of the interview, Defendant had approximately one
kilogram of methamphetamine in his possession. Mulkey said that Defendant will purchase
approximately a pound of methamphetamine every two days. Mulkey stated that Defendant is
getting his methamphetamine from Joshua Davis and Nathan Crowe.

On November 23, 2018, a person using (423) 408-4184 text messaged Defendant and stated
that they had drug deals for the evening, but needed to be supplied methamphetamine by Defendant
to complete the deals. The person told Defendant that they needed a half ounce or a whole ounce of
methamphetamine from him. The person said they only had enough money for half ounce of
methamphetamine, and asked if Defendant could “front” the other half ounce. The unknown person
also told Defendant they would have the methamphetamine sold in two (2) hours and would bring

the money back to him.

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 6of14 PagelD #: 272
On December 14, 2018, Defendant sent a text message to co-defendant Dustin Barnette,
asking him if he was going to pay him back for methamphetamine he previously obtained on the
front. Barnette responded that he had Defendant’s money. Barnette sent another message telling
Defendant that he would be there shortly to pay him back and that he received drug debt money
from Tim Parker as well. On the following day, Barnette sent a message to Defendant wanting to
meet so that he could obtain more methamphetamine.

On December 21, 2018, co-defendants Adam Bear and Lindsey Krajek texted Defendant to
purchase methamphetamine. Krajeck explained that her other source was taking too long and they
had customers calling them wanting to purchase methamphetamine.

On December 22, 2018, Defendant was arrested in Asheville, NC with approximately one
and one-half pounds of methamphetamine and twenty-nine firearms. Defendant was transported to
the Buncombe County Detention Center. Defendant consented to an interview and stated that the
methamphetamine he was in possession of at the time of his arrest came from Nathan Crowe.
Defendant stated that he met Crowe at a McDonalds in Atlanta, Georgia on December 21, 2018 and
purchased the methamphetamine from him for $7,000. Defendant stated that Kirstin Mulkey was
with him during the deal. Defendant also stated that he purchased methamphetamine from Joshua
Davis. Defendant stated he usually buys one pound of methamphetamine from Davis at a time.
Defendant said he had purchased a pound of methamphetamine from Davis more than ten (10)
times, and began buying from him within the past year. He said that the most he purchased from
Davis at a time was two (2) pounds of methamphetamine.

On December 28, 2018, Defendant was interviewed a second time at the Buncombe County
Detention Center. Defendant stated that he met Joshua Davis through Harvey Napier. Defendant

said that when he first started buying pounds of methamphetamine from Davis, he would give the

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 7of14 PagelD #: 273
money to Napier. Napier would then bring back the meth from Davis. Defendant said that
eventually he began dealing directly with Davis. Defendant stated that Davis would frequently
change cell phones, so he would contact Davis through Facebook Messenger, and then Davis would
call him. Defendant said that he had been purchasing pounds of methamphetamine from Davis
since he moved to High Point Ave. until about two weeks prior to his arrest.

Defendant also stated that he had known Connie Terry since 2013. He said that he began
purchasing methamphetamine from Terry after his most recent release from the Sullivan County
Jail. Defendant said that he would purchase a pound of methamphetamine from Terry every few
days. He stated that this occurred until Terry's source was arrested. Defendant stated that he then
began to sell methamphetamine to Terry. Defendant stated that he last sold methamphetamine to
Terry a few days prior to his arrest.

On March 1, 2019, agents interviewed co-defendant Mark Adam Burke. Burke stated he had
purchased methamphetamine from Joshua Davis and Defendant’s house.

On March 21, 2019, agents interviewed a confidential source. The confidential source
indicated that he/she went with Steven Eisenmenger to Defendant’s house on to occasions so that
Eisenmenger could obtain methamphetamine.

The defendant admits that he conspired with at least one other person to distribute
methamphetamine as charged in the indictment, and that he is responsible for the distribution of at
least 500 grams but less than 1.5 kilograms of methamphetamine (actual).

4. The defendant is pleading guilty because the defendant is in fact guilty.

The defendant understands that, by pleading guilty, the defendant is giving up several rights,
including:

a) the right to plead not guilty;

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 8o0f14 PagelD #: 274
b) the right to a speedy and public trial by jury;

c) the right to assistance of counsel at trial;

d) the right to be presumed innocent and to have the burden of proof placed on
the United States to prove the defendant guilty beyond a reasonable doubt;

e) the right to confront and cross-examine witnesses against the defendant;

f) the right to testify on one’s own behalf, to present evidence in opposition to
the charges, and to compel the attendance of witnesses; and

g) the right not to testify and to have that choice not used against the defendant.

6. The parties agree that the appropriate disposition of this case would be the following

as to each count:

a) The Court may impose any lawful term(s) of imprisonment, any lawful
fine(s), and any lawful term(s) of supervised release up to the statutory maximum(s);

b) The Court will impose special assessment fees as required by law; and

c) The Court may order forfeiture as applicable and restitution as appropriate.
No promises have been made by any representative of the United States to the defendant as to what
the sentence will be in this case. Any estimates or predictions made to the defendant by defense
counsel or any other person regarding any potential sentence in this case are not binding on the
Court, and may not be used as a basis to rescind this plea agreement or withdraw the defendant’s
guilty plea(s). The defendant understands that the sentence fh this case will be determined by the
Court after it receives the presentence investigation report from the United States Probation Office
and any information presented by the parties. The defendant acknowledges that the sentencing

determination will be based upon the entire scope of the defendant’s criminal conduct, the

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page9of14 PagelD #: 275
defendant’s criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.

fs Given the defendant’s agreement to plead guilty, the United States will not oppose a
two-level reduction for acceptance of responsibility under the provisions of Section 3E1.1(a) of the
Sentencing Guidelines. Further, if the defendant’s offense level is 16 or greater, and the defendant
is awarded the two-level reduction pursuant to Section 3E1.1(a), the United States agrees to move,
at or before the time of sentencing, the Court to decrease the offense level by one additional level
pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should the defendant engage in any
conduct or make any statements that are inconsistent with accepting responsibility for the
defendant’s offense(s), including violations of conditions of release or the commission of any
additional offense(s) prior to sentencing, the United States will be free to decline to make such
motion, to withdraw that motion if already made, and to recommend to the Court that the defendant

not receive any reduction for acceptance of responsibility under Section 3E1.1 of the Sentencing

Guidelines.
8. The defendant agrees to pay the special assessment in this case prior to sentencing.
9, Financial Obligations. The defendant agrees to pay all fines and restitution imposed

by the Court to the Clerk of Court. The defendant also agrees that the full fine and/or restitution
amount(s) shall be considered due and payable immediately. If the defendant cannot pay the full
amount immediately and is placed in custody or under the supervision of the Probation Office at any
time, the defendant agrees that the Bureau of Prisons and the Probation Office will have the
authority to establish payment schedules to ensure payment of the fine and/or restitution. The
defendant further agrees to cooperate fully in efforts to collect any financial obligation imposed by

the Court by set-off of federal payments, execution on non-exempt property, and any other means

10

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 10 0f14 PagelD #: 276
the United States deems appropriate. The defendant and counsel also agree that the defendant may
be contacted post-judgment regarding the collection of any financial obligation imposed by the
Court without notifying the defendant’s counsel and outside the presence of the defendant’s counsel.
In order to facilitate the collection of financial obligations to be imposed with this prosecution, the
defendant agrees to disclose fully all assets in which the defendant has any interest or over which
the defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or
other third party. In furtherance of this agreement, the defendant additionally agrees to the
following specific terms and conditions:

a) If so requested by the United States, the defendant will promptly submit a
completed financial statement to the U.S. Attorney’s Office, in a form it provides and as it directs.
The defendant promises that such financial statement and disclosures will be complete, accurate,
and truthful.

b) The defendant expressly authorizes the U.S. Attorney’s Office to obtain a
credit report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court.

Cc) If so requested by the United States, the defendant will promptly execute
authorizations on forms provided by the U.S. Attorney’s Office to permit the U.S. Attorney’s Office
to obtain financial and tax records of the defendant.

10. The defendant acknowledges that the principal benefits to the United States of a plea
agreement include the conservation of limited government resources and bringing a certain end to
the case. Accordingly, in consideration of the concessions made by the United States in this

agreement and as a further demonstration of the defendant’s acceptance of responsibility for the

11

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 110f14 PagelD #: 277
offense(s) committed, the defendant voluntarily, knowingly, and intentionally agrees to the
following:

a) The defendant will not file a direct appeal of the defendant’s conviction(s) or
sentence with one exception: The defendant retains the right to appeal a sentence imposed above
the sentencing guideline range determined by the Court or above any mandatory minimum sentence
deemed applicable by the Court, whichever is greater. The defendant also waives the right to appeal
the Court’s determination as to whether the defendant’s sentence will be consecutive or partially
concurrent to any other sentence.

b) The defendant will not file any motions or pleadings pursuant to 28 U.S.C.

§ 2255 or otherwise collaterally attack the defendant’s conviction(s) or sentence, with two
exceptions: The defendant retains the right to file a § 2255 motion as to (i) prosecutorial
misconduct and (ii) ineffective assistance of counsel.

c) The defendant will not, whether directly or by a representative, request or
receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the Privacy Act of 1974,

5 U.S.C. Section 552a.

11. This plea agreement becomes effective once it is signed by the parties and is not
contingent on the defendant’s entry of a guilty plea. If the United States violates the terms of this
plea agreement, the defendant will have the right to withdraw from this agreement. If the defendant
violates the terms of this plea agreement in any way (including but not limited to failing to enter
guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any

court order or any local, state or federal law pending the resolution of this case), then the United

12

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 12 0f14 PagelD #: 278
States will have the right to void any or all parts of the agreement and may also enforce whatever
parts of the agreement it chooses. In addition, the United States may prosecute the defendant for
any and all federal crimes that the defendant committed related to this case, including any charges
that were dismissed and any other charges which the United States agreed not to pursue. The
defendant expressly waives any statute of limitations defense and any constitutional or speedy trial
or double jeopardy defense to such a prosecution. The defendant also understands that a violation of
this plea agreement by the defendant does not entitle the defendant to withdraw the defendant’s
guilty plea(s) in this case.

12. The United States will file a supplement in this case, as required in every case by the
Local Rules of the United States District Court for the Eastern District of Tennessee, even though
there may or may not be any additional terms. If additional terms are included in the supplement,
they are hereby fully incorporated herein.

13.‘ This plea agreement and supplement constitute the full and complete agreement and
understanding between the parties concerning the defendant’s guilty plea to the above-referenced
charge(s), and there are no other agreements, promises, undertakings, or understandings between the
defendant and the United States. The parties understand and agree that the terms of this plea
agreement can be modified only in writing signed by all of the parties and that any and all other
promises, representations, and statements whether made before, contemporaneous with, or after this

agreement, are null and void.

13

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 13 0f14 PagelD #: 279
J. DOUGLAS OVERBEY
UNITED STATES ATTORNEY

 

 

 

 

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Date / J
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Date / VICTOR JAMES RAY
Defendant

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Date JERRY FABUS,UR.
Attofiey for the Defendant

14

Case 2:19-cr-00196-JRG-CRW Document 184 Filed 02/07/20 Page 140f14 PagelD #: 280
